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UNITED STATES pIsTRict 9dolAtre8
SOUTHERN DISTRICT OF FLOREDA.. .
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UNITED STATES OF AMERICA, Case No. = -CR-

MOTION FOR ORDER IN LIMINE

Vv.

)
)
SALVADOR MAGLUTA. )
)

 

COMES NOW the United States of America, by and through the
undersigned Assistant United States Attorneys, and requests this
Honorable Court for an Order in Limine instructing the Attorneys
for the Defendant to refrain from making any direct or indirect
mention whatsoever, including opening and closing arguments, at
trial before the jury of the matters hereinafter set forth, without
first obtaining permission from the Court outside the presence
and/or hearing of the jury, on the grounds that the said matters
are incompetent, irrelevant, or immaterial to the issues involved
herein, and will serve only to unfairly prejudice the jurors
against the government. The subject matters in question are:

(1) Defendant's acquittal in United States yv,. Salvador
Magluta, Case No. 91-6060-Cr-Moreno;

(2) The Government's motivation for instituting charges in.
the instant case and the defense of selective prosecution;

(3) Jury nullification defense.

As grounds in support thereof, the government asserts the
following. A basic tenet is that evidence of a defendant's

previous judgment of acquittal is inadmissible. United States v.

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Sanchez, 992 F.2d 1143 (11th Cir. 1993). Thus courts have held
that trial courts were well within their discretion in excluding
this inadmissible evidence of a prior acquittal on hearsay,
relevancy, and Rule 403 grounds. Sanchez at 1160; United States v.
Irvin, 787 F.2d 1506, 1516-17 (11th Cir. 1986); United States v.
Kerley, 643 F.2d 299, 300-01 (5th Cir. 1981).

In an attempt to justify the admission of this otherwise
inadmissible testimony, defendant submits that he seeks admission
of Magluta's prior acquittal in the drug case before Judge Moreno
solely to establish the extreme prejudice and bias on the part of
witnesses David Borah, Keith Braynon, and George Plasencia caused
by defendant's acquittal. Defendant's effort to introduce this
evidence lacks any evidentiary or legal basis, and should be
denied.

As a threshold matter, these witnesses harbor no illicit or
improper motives in testifying in the instant case. Special Agent
Dave Borah of the DEA will testify as a custodian. He will
introduce the various evidentiary items seized from Magluta's
residence at 96 LaGorce Circle on October 15, 1996, pursuant to a
federal search warrant. See Government's Exhibit List. Agent
Borah has already testified under oath to the seizure of these
items during the Magluta drug trial in October of 1996, months
before the acquittal of Magluta and the resulting indictment in the
case at bar. His testimony will not vary to any significant degree
in this case. Furthermore, Agent Borah had no role in the

institution of these criminal charges against defendant.
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Therefore, cross-examination of the agent will not reveal the
information sought by defendant as to motive, bias, or prejudice
resulting from the acquittal.’

Likewise, Deputy Marshal Braynon and Metro Dade Sergeant
Plasencia have already testified concerning the arrest of defendant
in 1991 and 1988, respectively, and the existence of the
outstanding warrants for defendant. Their expected testimony is
not of the nature which is subject to shading or variance due to
bias or any other motive. To permit defense counsel to raise the
specter of the outcome of the previous trial in no way advances any
legitimate goal as advanced by the defense, other than to prejudice
the jury against the government, or confuse and mislead them as to
the facts and issues to be decided in this case.

Thus, this Court should preclude defendant's proffered cross-
examination into this area. This conclusion is supported by the
former Fifth Circuit in the case of United States v. Burke, 495
F.2d 1226 (5th Cir.), cert. denied, 419 U.S. 1079 (1974), wherein
the court ruled that there was no error in the district court's
preclusion of the type of cross-examination sought by defendant.
In Burke, the court held that where defendants were unable to show
any material differences from a previous state trial in which the
defendant was acquitted, or any other way in which the witness'

testimony was biased by the state trial, the trial court properly

 

* The government submits that rather than question the

witness before the jury and interject extremely prejudicial and
inadmissible information, the defense should be required to voir
dire the witness outside the presence of the jury to determine if
the government's representations are correct.

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refused to permit defendants to show bias by introducing statements
by the witness after defendant's acquittal that the witness was
unhappy with and skeptical of that trial's outcome. Burke, at
1233.

If defendant were permitted to conduct the cross-examination
which he desires, in redirect examination the witnesses would
properly be able to justify their actions in the previous trial and
testimony in this case by commenting on the results of their
investigation implicating defendant in major narcotics trafficking,
which would only further delay and potentially mislead the jury
from their proper focus in this case.

In sum, the subject evidence lacks probative value regarding
the issues in this case, and would serve only to prejudice the jury
against the government, and confuse and mislead them. Defendant's
proposed cross-examination would necessarily open up the entire
subject of defendant's previous drug trial for the jury's
consideration.

WHEREFORE, the government requests that this Honorable Court
grant its Motion in Limine.

| Respectfully submitted,

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the

foregoing was mailed this DE aay of January, 1997 to Roy Black,

Esquire and Martin G. Weinberg, Esquire.

|| My

CHRISTOPHER J. CLARK
ASSISTANT UNITED STATES ATTORNEY
